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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                  :
                                          :
       Plaintiff,                         :         CRIMINAL ACTION NO.
v.                                        :         3:08-cr-4 (JCH)
                                          :
KENNETH THAMES and                        :         SEPTEMBER 23, 2008
KEITH WHITE                               :
                                          :
       Defendants.                        :

             ORDER REGARDING MOTIONS TO SUPPRESS BY
     DEFENDANTS THAMES [Doc. No. 245 in part] AND WHITE [Doc. No. 203]

       On January 8, 2008, seventeen defendants were indicted under 21 U.S.C. §§

841(a)(1) and 846 with Conspiracy to Distribute 50 Grams or More of Cocaine Base,

and Possession of Cocaine Base With Intent to Distribute. Pending before the court are

Motions to Suppress Evidence by defendants Thames and White.

I.     MOTION TO SUPPRESS BY DEFENDANT THAMES [Doc. No. 245 in part]

       Defendant Thames has moved to suppress evidence of an out-of-court

identification. Thames claims that the identification procedure was conducted in an

unreasonably suggestive manner rendering the identification “unreliable and

inadmissible.” Thames has not specified the details of the identification to which he

objects, nor has Thames offered an affidavit or other evidence in support of his claim

that the identification procedure was faulty.

       Thames has requested an evidentiary hearing. “[A]n evidentiary hearing on a

motion to suppress ordinarily is required if the moving papers are sufficiently definite,

specific, detailed, and nonconjectural to enable the court to conclude that contested



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issues of fact going to the validity of the search are in question.” United States v.

Watson, 404 F.3d 163, 167 (2d Cir. 2005) (internal citations and quotation marks

omitted). Thames has not, however, offered evidence establishing a factual dispute.

See United States v. Guadalupe, 363 F. Supp. 2d 79, 81 (D.Conn.2004) (citing United

States v. Culotta, 413 F.2d 1343, 1345 (2d Cir.1969) (“A defendant seeking to suppress

evidence bears the burden of demonstrating disputed issues of fact that would justify an

evidentiary hearing.”). While Thames’s brief alleges a faulty identification procedure,

allegations of a defense attorney are insufficient to meet this burden; rather, an affidavit

of someone with personal knowledge of the underlying facts must be submitted. See

United States v. Guadalupe, 363 F.Supp.2d 79, 81 (D. Conn. 2004) (citing United

States v. Gillette, 383 F.2d 843, 848-49 (2d Cir. 1967). Thames has not justified the

need for an evidentiary hearing.

       Therefore, Defendant Thames’s motion to suppress [Doc. No. 245 in part] is

DENIED for failure to create a record on which the court could grant suppression.

II.    MOTION TO SUPPRESS BY DEFENDANT WHITE [Doc. No. 203]

       Defendant White has moved to suppress evidence of statements purportedly

made to law enforcement officers on January 17, 2008. White claims that he was

subjected to custodial interrogation without first being given the warnings required by

Miranda v. Arizona, 384 U.S. 436, 479 (1966), and that suppression of his statements is

therefore warranted. White has submitted as evidence a police report indicating that he

made statements prior to being given Miranda warnings and without questioning. He

argues that the totality of the circumstances suggests that he was subjected to unlawful



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custodial interrogation.

       The Fifth Amendment requires that a defendant be given Miranda warnings once

arrested and prior to being subjected to “custodial interrogation.” Miranda, 384 U.S. at

444. If law enforcement interrogates an in-custody subject without first providing a

warning, statements may be suppressed as having been obtained in violation of

Miranda. Interrogation occurs when law enforcement officers initiate express

questioning of a defendant. See id. But interrogation also takes place when law

enforcement subjects an individual to the “functional equivalent” of express questioning,

including words or actions “that the police should know are reasonably likely to elicit an

incriminating response from the subject.” United States v. Rommy, 506 F.3d 108, 132

(2d Cir. 2007) (quoting Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980)). However,

the admission of volunteered statements in the absence of warnings is not barred by

the Fifth Amendment. Rommy, 506 F.3d at 132 (quoting Miranda, 384 U.S. at 478).

       It is undisputed that White was “in custody” at the time he made the statement,

as he had been arrested and then placed in a government vehicle in the custody of the

Drug Enforcement Administration.

       The report identifies several statements made by White prior to being given

Miranda warnings (“initial statements”). The report identifies one statement made by

White “when asked to explain” a prior statement he had made, and prior to being given

Miranda warnings.

       With regard to the initial statements, as White admits, the report does not clearly

establish whether law enforcement elicited them. White has offered no other evidence

besides the report, either an affidavit or otherwise, alleging that his initial alleged

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statements were elicited by law enforcement. White’s allegations that the initial

statements were made in response to questioning are unsupported by any evidence in

the record now before the court.

       However, law enforcement’s request that White explain his earlier statements, as

evidenced on the face of the report, qualify as interrogation under the standard

articulated in Innis. 446 U.S. at 301. Therefore, any statements obtained in response

to the request that White “explain” his earlier statements were obtained in violation of

Miranda and are inadmissible.

       Therefore, Defendant White’s motion to suppress [Doc. No. 203] is GRANTED

IN PART with regard to statements elicited in response to the request that White

explain his earlier statements, and DENIED IN PART with regard to his initial

statements for failure to create a record on which the court could grant suppression.

III.   CONCLUSION

       For the foregoing reasons, Defendant Thames’s motion to suppress [Doc. No.

245 in part] is DENIED for failure to create a record on which the court could grant

suppression.

       Defendant White’s motion to suppress [Doc. No. 203] is GRANTED IN PART

with regard to statements elicited in response to the request that White explain his

earlier statements, and DENIED IN PART with regard to his initial statements for failure

to create a record on which the court could grant suppression.




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SO ORDERED.

    Dated at Bridgeport, Connecticut this 23rd day of September, 2008.


                                     /s/ Janet C. Hall
                                     Janet C. Hall
                                     United States District Judge




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